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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Honorable Marcia S. Krieger

  Civil Action No. 06-cv-02318-MSK-MJW

  ABRAHAM J. OSMAN, and
  DOROTHY K. OSMAN,

                 Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA,

              Defendant.
  ______________________________________________________________________________

         OPINION AND ORDER GRANTING, IN PART, MOTION TO VACATE
                         FINAL PRETRIAL CONFERENCE
  ______________________________________________________________________________

         THIS MATTER comes before the Court pursuant to the Defendant’s Unopposed Motion

  to Reschedule Final Pretrial Conference (# 34).

         The parties move to continue the Final Pretrial Conference, set for January 4, 2008, until

  the Court has ruled on the Defendant’s pending motion for summary judgment. The Court finds
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  that no good cause has been shown for the relief requested,1 and in that respect, the motion is

  denied.

            However, the Court observes that the parties have failed to comply with the March 26,

  2007 Pretrial Preparation and Trial Setting Order (# 14), by failing to submit a joint Proposed

  Final Pretrial Order at least 14 days prior to the Final Pretrial Conference. As far as the Court can

  determine, the parties have neither sought nor were granted leave to delay its submission. Without

  a Proposed Final Pretrial Order, the issues pertaining to the Final Pretrial Conference and the

  setting of a trial cannot be addressed.

            Accordingly, the Court vacates the Final Pretrial Conference set for January 4, 2008, and

  resets it for 4:00 p.m. on January 31, 2008. At least 14 days prior to the conference, the parties

  shall file a Proposed Final Pretrial Order as set forth in the Pretrial Preparation and Trial Setting

  Order. The parties are advised that failure to file the Proposed Pretrial Order as directed




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           The Court notes that the Defendant’s Motion for Summary Judgment was filed on
  September 9, 2007, but both parties thereafter sought and obtained (# 28, 31) extensions of time
  to respond or reply. This resulted in the motion not being fully briefed until November 9, 2007.
  As the Court’s Practice Standards advise, by seeking additional time to brief the matter, the
  parties consume time that the Court has set aside for consideration of the motion, and thus,
  extensions of established briefing schedules may result in the Court being unable to determine the
  matter prior to the Final Pretrial Conference. See MSK Practice Standards (Civil), § II.G.
          In addition, the pendency of a dispositive motion generally does not justify a continuance
  of a Final Pretrial Conference. Usually, the potential outcomes on the dispositive motion can
  assessed, and a trial and other deadlines can be set. The Defendant’s argument in the instant
  motion that, absent a ruling on the summary judgment motion, “the parties will not be in a
  position to determine which claims and affirmative defenses will be tried, which facts are disputed,
  and what evidence will be presented” is particularly unpersuasive in this case. Here, the
  Defendant contends in its Motion for Summary Judgment that no trial is necessary, at all. Thus,
  at the Final Pretrial Conference the outcomes are limited to two. If the Motion is granted, no trial
  is necessary and the trial date can be vacated; if the Motion is denied, the trial will proceed on all
  issues and should be set. Certainly, the parties are able to advise the Court as to what amount of
  time a trial on all issues will require and to set a trial.
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  may result in the imposition of sanctions, up to and including dismissal of the action and/or

  entry of default. No extensions of time to file the Proposed Pretrial Order will be granted.

         Accordingly, the Motion to Vacate the Final Pretrial Conference (# 34) is GRANTED IN

  PART, insofar as the Court VACATES the January 4, 2008 conference due to the parties’ failure

  to comply with the Pretrial Preparation and Trial Setting Order, and RESETS the Final Pretrial

  Conference to 4:00 p.m. on January 31, 2008, and DENIED IN PART in all other respects.

         Dated this 2nd day of January, 2008

                                                       BY THE COURT:




                                                       Marcia S. Krieger
                                                       United States District Judge
